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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


   In re:
   CATHEE EILEEN MASSEY,                           CASE NO.: 23-00156-JMC-7

                     Debtor.                       Chapter 7


   CATHEE EILEEN MASSEY
                Plaintiff

       vs.

   UNITED STATES DEPARTMENT                        ADV. PRO. CASE NO.:
   OF EDUCATION

                     Defendant.


       DEBTOR CATHEE EILEEN MASSEY COMPLAINT TO DETERMINE
    FEDERAL STUDENT LOANS DISCHARGEABLE FOR “UNDUE HARDSHIP”
                      UNDER 11 U.S.C. § 523(a)(8)

                                       Nature of Action

1. This is an adversary proceeding by which the Debtor/Plaintiff, Cathee Eileen Massey

   (hereinafter “Massey”) seeks a declaration that Federal student loans constitute an undue

   hardship for Massey and should be discharged pursuant to section 523(a)(8) of the Bankruptcy

   Code.

                                   Jurisdiction and Venue

2. On January 17, 2023, Massey filed a Voluntary Petition in the United States Bankruptcy Court

   for Southern District Indiana, Indianapolis Division for relief under 11 U.S.C. § 727, Chapter

   7 of the Bankruptcy code.

3. The Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§ 1334 and

   157(a).
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4. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

5. Venue is proper in this district pursuant to 28 U.S.C § 1409.

                                              Parties

6. Massey is the Debtor and Plaintiff in the above captioned case. She is the recipient of a Federal

   student loan.

7. Defendant, United States Department of Education (hereinafter “DOE”), is a federal agency

   that oversees and originates Federal student loans. It is the originator and holder of the loan at

   issue.

                                       Factual Allegations

8. Cathee Eileen Massey is a resident of Indianapolis, Indiana. She is 64-years-old and lives

   alone.

9. There is one (1) direct consolidated federal loan in a principal balance of $55,002.00, plus

   interest of $2,381.00, totaling $57,383.00. It is currently in forbearance

10. If this loan were not in forbearance, the standard payment collectively would be $696.21 per

   month.

11. Massey is unable to afford the standard payment as her expenses exceed her income. Massey’s

   household income consists solely of her net income of $3,291.40.

12. Massey did not attend college. The loan at issue was taken as a Parent-Plus loan to pay for her

   son’s college education.

13. Massey was not able to make payments on this loans because when the loan entered repayment,

   her ability to afford the basic necessities of life exceeded her monthly income.

14. Massey did take several forbearances and/or deferments during the loan life for fear of the loan

   growing to astronomical balance due to capitalizing interest. She later consolidated.
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15. Massey enrolled in an Income Driven Repayment Plan and consolidated her loans in an attempt

   to have only one loan payments, however it resulted in a monthly payment that is not

   affordable.

16. Massey filed bankruptcy to free herself of financial burden to enable her to maintain a basic

   sense of living.

17. Massey has maximized her income while reducing her expenses. Massey’s basic monthly

   living expenses are at least $3,288.00. Massey works a second job just to make ends meet.

   Additionally, Massey has made changes in her lifestyle to lower utilities, food and other

   miscellaneous expenses.

18. Massey’s current employment is not likely to increase in income to the point that these loans

   will be affordable.

19. Massey is working a part-time job to supplement her income just to pay her basic living

   expenses.

                                        Claims for Relief

                 Declaration that Any Federal Student Loan Obligations Should be

                            Discharged Pursuant to Section 523(a)(8)

20. Massey repeats and realleges the allegations contained in paragraphs 1 through 19 of this

   Complaint as if fully set forth herein.

21. The repayment of the Federal student loan made by Massey would be an undue hardship to

   her. She is unable to obtain any reasonable credit so long as these debts remain on her credit.

22. Congress intended student loan debts to be dischargeable when not doing so would serve to

   frustrate the “fresh start” of the Bankruptcy Discharge. As such, Massey’s Federal student

   loan obligation should be discharged pursuant to Bankruptcy code section 523(a)(8).
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23. The most common framework for assessing undue hardship is the so-called Brunner test.

   Brunner v. New York State Higher Education Services Corp., 831 F.2d 395 (2d Cir. 1987). To

   discharge a student loan under the Brunner test, a bankruptcy court must find that the debtor

   has established that (1) the debtor cannot presently maintain a minimal standard of living if

   required to repay the student loan, (2) circumstances exist that indicate the debtor's financial

   situation is likely to persist into the future for a significant portion of the loan repayment period,

   and (3) the debtor has made good faith efforts in the past to repay the student loan. Id. at 396.

24. Debtor, Cathee Eileen Massey, by counsel hereby gives notice that she consents to the entry

   of final orders and judgment by the Bankruptcy Court in this adversary proceeding.

       WHEREFORE, the Debtor, Cathee Eileen Massey, respectfully requests this Court to enter

an order finding that excepting her student loan from discharge would impose an undue hardship

as provided in 11 USC §523(a)(8), declaring the student loan to be included in Plaintiff’s discharge

under §727(a)/1328(a), and for any other relief as the Court deems just and proper

Dated at Indianapolis, Indiana, this 28th day of June, 2023

                                               Respectfully Submitted,

                                               /s/ Cathee Eileen Massey
                                               Cathee Eileen Massey
                                               Debtor/Plaintiff

                                               By her attorney,

                                               /s/ Eric C. Redman
                                               Eric C. Redman
                                               Attorney for Debtor/Plaintiff
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